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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS,
                               KANSAS CITY DIVISION

 KIM KRUGER,                                          )
                                                      )
                Plaintiff,                            )
                                                      )
 v.                                                   )             CIVIL NO.: _______
                                                      )
 HOMEADVISOR, INC., f/k/a                             )
 SERVICEMAGIC, INC., and JOHN DOES 1-                 )
 100,                                                 )
                                                      )
                Defendants.                           )



                                          COMPLAINT

       Plaintiff Kim Kruger (“Plaintiff” or “Ms. Kruger”), by and through her undersigned

counsel, brings Counts I-III of this action against defendants HomeAdvisor, Inc., f/k/a

ServiceMagic, Inc., and John Does 1-100 (collectively, “HomeAdvisor”).

                                     Jurisdiction and Venue

       1.      This is an action involving the violation of Plaintiff’s federal statutory rights

under Title VII of the Civil Rights Act of 1964, 29 U.S.C. § 2601, et seq. (“Title VII of the Civil

Rights Act of 1964”), the Americans with Disabilities Act (“ADA”), 42. U.S.C. § 12101, et seq.,

as amended by the ADA Amendments Act of 2008 (“ADAAA”), and Kansas state law.

       2.      This Court has jurisdiction based upon the existence of a question arising under

the laws of the United States of America. Because this action arises under Title VII, of the Civil

Rights Act of 1954, 42 U.S.C. §2000e, et.seq., as amended by the Civil Rights Act of 1991,
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§704, Title VII, 42 U.S.C. § 1981, this Court has jurisdiction of the controversy based upon the

provisions of 42 U.S.C. §2000e-5(f)(3) as well as 28 U.S.C. §§1331 and 1334.

        3.     Accordingly, the jurisdiction of this Court is invoked pursuant to 28 U.S.C. §

1331 and 1334.

        4.     Venue for this action properly lies in the District of Kansas because the

employment practices alleged to be unlawful were committed within the jurisdiction of the

United States District Court for the District of Kansas.

        5.     All statutory and administrative requirements have been fulfilled prior to the

initiation of this lawsuit, and this matter has been filed within 90 days of Plaintiff’s receipt of the

notice of right to sue issued by the U.S. Equal Employment Opportunity Commission as to

Plaintiff’s claims, which states that it was issued on April 28, 2017 and has postmarked date of

May 1, 2017.

        6.     Plaintiff’s notice of right to sue was received by counsel for Plaintiff on Friday,

May 5, 2017.

                                             The Parties

        7.     Plaintiff was employed with HomeAdvisor for nearly three years, from September

2013 to July of 2016.

        8.     Plaintiff began her employment with HomeAdvisor as a marketing and sales

consultant.

        9.     Plaintiff then worked for the Defendants until her termination on or about July 12,

2016.




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        10.      At the time of her termination, Plaintiff worked at Defendants’ Lenexa, Kansas

call center facilities.

        11.      At all relevant times, Plaintiff is and has been a resident of Kansas.

        12.      Defendant HomeAdvisor, Inc., (“HomeAdvisor”) is a Delaware corporation with

a principal place of business and corporate headquarters located in Golden, CO. Defendant

HomeAdvisor can be served at the above location or via any of its registered agents, including

The Corporation Company, Inc., 112 SW 7th Street, Suite 3C, Topeka, KS 66603.

        13.      Tom Cheatham is a person to whom HomeAdvisor had delegated the performance

of employment-related activities, such as interviewing and deciding whether to hire or fire

HomeAdvisor employees in the Lenexa, Kansas call center location.

        14.      At all relevant times, HomeAdvisor has continuously done business in the State of

Kansas. Consequently, Defendants are subject to the jurisdiction of this Court.

        15.      Upon information and belief, HomeAdvisor’s parent company, IAC, exercises

substantial control over personnel, compensation, and other employment decisions as the owner

or parent company of HomeAdvisor (collectively, the “HomeAdvisor Defendants”.

                 Facts Relevant to Ms. Kruger’s Discrimination and Termination

        16.      Plaintiff is a female of Korean descent.

        17.      At the time of her termination, Plaintiff was employed as a senior sales and

marketing representative with HomeAdvisor.

        18.      During the final few months of her employment, she was subjected to unlawful

discrimination, harassment, and retaliation on the basis of gender/sex, race, national origin,

and/or disability or perceived disability.



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        19.    In December 2015, HomeAdvisor asked that she participate in recruitment events

and activities relating to its efforts to hire several high profile employees away from a

competitor.

        20.    At various times during these events, Plaintiff was subjected to unwanted sexual

advances and physical contact.

        21.    Plaintiff was also instructed by HomeAdvisor to verify Mr. Cheatham’s prior

misrepresentations regarding the salary and the earning potential of employees who held

Plaintiff’s position with the organization.

        22.    Plaintiff reported her concerns to HomeAdvisor, but no action was taken.

        23.    Thereafter, Plaintiff was treated as someone who isn’t a “team player,” which is

the first sign that an employee is no longer welcome at the organization.

        24.    HomeAdvisor management and several coworkers began to alienate and ostracize

Plaintiff.

        25.    Several male, non-minority members of Plaintiff’s team were allowed to harass

and intimidate her on a regular basis.

        26.    She reported the offending conduct to management and human resources, but the

conduct was allowed to continue.

        27.    Plaintiff’s spouse, also employed by Defendants, also reported the harassment and

intimidation, and asked that HomeAdvisor take steps to stop the offending behavior.

        28.    Other employees also reported the conduct, but the harassment and workplace

intimidation continued.




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       29.     After Plaintiff reported the conduct, a number of my coworkers became aware

that Plaintiff had reported the offending conduct, which increased the intensity and frequency of

the harassment.

       30.     Rather than discipline the coworkers involved in the harassment, Plaintiff was

transferred to a different team by HomeAdvisor and provided with fewer professional resources

and opportunities, which affected her compensation, job performance, and mental well-being.

       31.     Instead of addressing the behavior or disciplining the employees, HomeAdvisor

transferred Plaintiff to a different team and position with the company, which Defendants knew

would have a detrimental effect on Plaintiff’s production and earnings.

       32.     Defendants transferred Plaintiff to punish her, and knew that Plaintiff’s transfer

would be viewed by other employees as a punishment for reporting the behavior to company

management.

       33.     Supervisors and coworkers were permitted and encouraged to openly criticize

Plaintiff’s performance.

       34.     HomeAdvisor and Plaintiff’s coworkers were aware of the detrimental effect on

her health and mental well-being.

       35.     On or about July 12, 2016, HomeAdvisor terminated Plaintiff’s employment.

Following her termination, HomeAdvisor retaliated against her by opposing her right to

unemployment benefits in a hearing on or about November 7, 2016.

       36.     Plaintiff received the decision denying her right to unemployment benefits shortly

after it was issued on or about November 8, 2016.




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       37.     HomeAdvisor’s decision to deny Plaintiff’s unemployment benefits was

retaliatory, based on her internal reporting that she was discriminated against based on

sex/gender, race, national origin, and/or disability or perceived disability.

       38.     Plaintiff’s gender, race, national origin, and/or disability or her impairment that

Defendants regarded as a disability, was a substantial or motivating factor in the decision to

terminate Ms. Kruger in July of 2016.

       39.     Ms. Kruger worked at the HomeAdvisor Defendants for nearly three years, from

September of 2013 until July of 2016.

       40.     On several occasions, she received or shared in awards for exemplary work

performance, and was often one of the very top sales performers for the company.

       41.     At no point did Defendants refer Ms. Kruger to HomeAdvisor’s HR department

regarding the problems or harassment she endured.

       42.     The HomeAdvisor Defendants notified Ms. Kruger on or about July 13, 2016 that

she was being terminated.

       43.     According to the HomeAdvisor Defendants, Ms. Kruger’s termination was due to

an alleged offer by Plaintiff to refund a membership fee to a dissatisfied customer.

       44.     Prior to Ms. Kruger’s termination, at no point did the HomeAdvisor Defendants

or any representative from HomeAdvisor’s HR Department attempt to investigate or otherwise

remedy the harassment of Ms. Kruger by her coworkers, defendant Cheatham, or the prospective

employees that HomeAdvisor was attempting to recruit.




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         45.   Upon information and belief, Mr. Cheatham was involved in the decision to

terminate Ms. Kruger, either directly or indirectly, by supplying some or all of the information

upon which the decision to terminate Ms. Kruger was based.

         46.   As a direct and proximate result of the discriminatory and retaliatory actions of

the Defendant, Plaintiff has been caused to lose an opportunity to advance in her professional

career, and have caused her to lose income.

         47.   As a further and direct proximate result of the discriminatory and retaliatory

actions of the defendant, Plaintiff has suffered a loss of income and other financial benefits in the

past, present, and will continue such losses in the future.

         48.   As a further and direct proximate result of the discriminatory and retaliatory

actions of the defendants, Plaintiff has, is, and will in the future have mental pain, suffering, and

anguish as a result of the discriminatory and retaliatory actions of the Defendants, requiring

medical treatment.

                                     COUNT I
                        DISCRIMINATION IN VIOLATION OF THE
                        ADA AND ADAAA (42 U.S.C. § 12101 et seq.)

         49.   Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 48

above.

         50.   Based on the foregoing, Plaintiff at all times relevant hereto, is or has been a

qualified individual with a disability or a condition that Defendants “regarded as” a disability

under the ADA and ADAAA.

         51.   Plaintiff suffered the adverse employment action of having been terminated on or

about April 15, 2016, as well as an attendant loss of employment benefits. Plaintiff’s termination



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was based on Plaintiff’s disability or perceived disability, and the need for accommodation by

the HomeAdvisor Defendants.

         52.      Rather than engage in the process of working with Plaintiff to discuss a

reasonable accommodation for the disability or impairment that the HomeAdvisor Defendants

regarded as a disability, the HomeAdvisor Defendants terminated Plaintiff.

         53.      By virtue of the foregoing, the HomeAdvisor Defendants caused Plaintiff to suffer

deliberate and unlawful discrimination due to her disability and/or impairment that the

HomeAdvisor Defendants regarded as a disability, in violation of the Americans with

Disabilities Act, 42 U.S.C. § 12101 et seq., and the related ADAAA amendments.

                                      COUNT II
   (Discrimination On The Basis of Race, National Origin, and/or Sex in Violation of 42
                                    U.S.C. §2000e-2)

         54.      Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 53

above.

         55.      The actions described herein, demonstrate that the Defendant has discriminated

against the Plaintiff based upon her race and/or sex, in violation of 42 U.S.C. §2000e-2.

                                          COUNT III
               (Race/National Origin Discrimination in Violation of 42 U.S.C. §1981)

         56.      Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 55

above.

         57.      The actions by the Defendants described herein denied the Plaintiff the ability to

make and enforce contracts in the same manner as enjoyed members of one or more other races

or national origins, for the reasons of her race in violation of 42 U.S.C. §1981.

                                              COUNT IV


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                          (Retaliation in violation of 42 U.S.C. §2000e-3)

          59.    Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 58

above.

          60.    The Plaintiff complained to Defendants of discriminatory actions described

herein.

          61.    The retaliation by the Defendants resulted in the termination of Plaintiff’s

employment.

          62.    The actions described herein demonstrate that the Defendants retaliated against

the Plaintiff in violation 42 U.S.C. §2000e-3.

                                            COUNT V
                           (Retaliation in Violation of 42 U.S.C. §1981)

          63.    Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 62

above.

          64.    The Plaintiff complained to the defendant of the discriminatory action described

herein.

          65.    The retaliation by Defendants resulted in the termination of the Plaintiff’s

employment.

          66.    The actions described herein demonstrate that Defendants retaliated against

Plaintiff in violation 42 U.S.C. §1981.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully prays that this Court enter judgment against the

HomeAdvisor Defendants, awarding Plaintiff:




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          a.     Declare the conduct by the Defendants is in violation of Plaintiff's statutory rights

and common law rights.

          b.     Award the Plaintiff back pay, and compensatory damages for her losses from the

date of her wrongful termination until the date of any judgment, and front pay into the future.

          c.     Award the Plaintiff sufficient funds to compensate her for her losses, pain, and

mental suffering, which cannot otherwise be compensated by any equitable relief.

          d.     Award the Plaintiff compensatory and punitive damages not otherwise specified

herein.

          e.     Award the Plaintiff any and all liquidated damages, which would make the

plaintiff "whole".

          f.     Award the Plaintiff attorney fees, and the cost of this action, pre-judgment and

post-judgment interest.

          g.     Award the Plaintiff such other and further relief as this Court deems just and

proper.


                                  DEMAND FOR JURY TRIAL

          Plaintiff hereby demands a jury trial on all claims for which she has a right to a

jury.

                             DESIGNATION OF PLACE OF TRIAL

          Pursuant to the Local Rules of the District of Kansas, Plaintiff hereby designates

Kansas City, Kansas as the place of trial.




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Dated: July 22, 2017                Respectfully submitted,


                                     /s/ Geoffrey L. Gross
                                    GEOFFREY L. GROSS (KS # 24049)*
                                    LAW OFFICES OF GEOFFREY L. GROSS, LLC
                                    4717 Grand Avenue, Suite 250
                                    Kansas City, MO 64112
                                    Telephone: (816) 945-9591
                                    Facsimile: (816) 945-9578
                                    ggross@grossllc.com


                                    Attorneys for Plaintiffs




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